Case 9:17-cv-80495-KAM Document 358 Entered on FLSD Docket 05/14/2019 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

Case No. 9:17-CV-80495

CONSUMER FINANCIAL PROTECTION BUREAU,
Plaintiff,

VS.

OCWEN FINANCIAL CORPORATION,
a Florida corporation,

OCWEN MORTGAGE SERVICING, INC.,
a U.S. Virgin Islands corporation, and

OCWEN LOAN SERVICING, LLC,
a Delaware limited liability company,

Defendants.

 

NOTICE OF APPEARANCE
To: Theclerk of court and all parties of record.
I am admitted or otherwise authorized to practice in this court, and I appear in

this case as counsel for the Plaintiff, the Consumer Financial Protection Bureau.

Date: May 14, 2019 Ne, § ()_- -

Shirley T. Chiu

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